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                   Thomas-Jensen
                    Affirmation



                         Exhibit # 3
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                                                                                                    Executive Order 14159 of January 20, 2025

                                                                                                    Protecting the American People Against Invasion


                                                                                                    By the authority vested in me as President by the Constitution and the
                                                                                                    laws of the United States of America, including the Immigration and Nation-
                                                                                                    ality Act (INA) (8 U.S.C. 1101 et seq.) and section 301 of title 3, United
                                                                                                    States Code, it is hereby ordered:
                                                                                                    Section 1. Purpose. Over the last 4 years, the prior administration invited,
                                                                                                    administered, and oversaw an unprecedented flood of illegal immigration
                                                                                                    into the United States. Millions of illegal aliens crossed our borders or
                                                                                                    were permitted to fly directly into the United States on commercial flights
                                                                                                    and allowed to settle in American communities, in violation of longstanding
                                                                                                    Federal laws.
                                                                                                    Many of these aliens unlawfully within the United States present significant
                                                                                                    threats to national security and public safety, committing vile and heinous
                                                                                                    acts against innocent Americans. Others are engaged in hostile activities,
                                                                                                    including espionage, economic espionage, and preparations for terror-related
                                                                                                    activities. Many have abused the generosity of the American people, and
                                                                                                    their presence in the United States has cost taxpayers billions of dollars
                                                                                                    at the Federal, State, and local levels.
                                                                                                    Enforcing our Nation’s immigration laws is critically important to the national
                                                                                                    security and public safety of the United States. The American people deserve
                                                                                                    a Federal Government that puts their interests first and a Government that
                                                                                                    understands its sacred obligation to prioritize the safety, security, and finan-
                                                                                                    cial and economic well-being of Americans.
                                                                                                    This order ensures that the Federal Government protects the American people
                                                                                                    by faithfully executing the immigration laws of the United States.
                                                                                                    Sec. 2. Policy. It is the policy of the United States to faithfully execute
                                                                                                    the immigration laws against all inadmissible and removable aliens, particu-
                                                                                                    larly those aliens who threaten the safety or security of the American people.
                                                                                                    Further, it is the policy of the United States to achieve the total and efficient
                                                                                                    enforcement of those laws, including through lawful incentives and detention
                                                                                                    capabilities.
                                                                                                    Sec. 3. Faithful Execution of the Immigration Laws. In furtherance of the
                                                                                                    policies described in section 2 of this order:
                                                                                                       (a) Executive Order 13993 of January 20, 2021 (Revision of Civil Immigra-
                                                                                                    tion Enforcement Policies and Priorities), Executive Order 14010 of February
                                                                                                    2, 2021 (Creating a Comprehensive Regional Framework To Address the
                                                                                                    Causes of Migration, To Manage Migration Throughout North and Central
                                                                                                    America, and To Provide Safe and Orderly Processing of Asylum Seekers
                                                                                                    at the United States Border), Executive Order 14011 of February 2, 2021
                                                                                                    (Establishment of Interagency Task Force on the Reunification of Families),
                                                                                                    and Executive Order 14012 of February 2, 2021 (Restoring Faith in Our
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                                                                                                    Legal Immigration Systems and Strengthening Integration and Inclusion Ef-
                                                                                                    forts for New Americans) are hereby revoked; and
                                                                                                      (b) Executive departments and agencies (agencies) shall take all appropriate
                                                                                                    action to promptly revoke all memoranda, guidance, or other policies based
                                                                                                    on the Executive Orders revoked in section 3(a) of this order and shall
                                                                                                    employ all lawful means to ensure the faithful execution of the immigration
                                                                                                    laws of the United States against all inadmissible and removable aliens.


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                                                                                                    Sec. 4. Civil Enforcement Priorities. The Secretary of Homeland Security
                                                                                                    shall take all appropriate action to enable the Director of U.S. Immigration
                                                                                                    and Customs Enforcement, the Commissioner of U.S. Customs and Border
                                                                                                    Protection, and the Director of U.S. Citizenship and Immigration Services
                                                                                                    to set priorities for their agencies that protect the public safety and national
                                                                                                    security interests of the American people, including by ensuring the success-
                                                                                                    ful enforcement of final orders of removal. Further, the Secretary of Homeland
                                                                                                    Security shall ensure that the primary mission of U.S. Immigration and
                                                                                                    Customs Enforcement’s Homeland Security Investigations division is the
                                                                                                    enforcement of the provisions of the INA and other Federal laws related
                                                                                                    to the illegal entry and unlawful presence of aliens in the United States
                                                                                                    and the enforcement of the purposes of this order.
                                                                                                    Sec. 5. Criminal Enforcement Priorities. The Attorney General, in coordina-
                                                                                                    tion with the Secretary of State and the Secretary of Homeland Security,
                                                                                                    shall take all appropriate action to prioritize the prosecution of criminal
                                                                                                    offenses related to the unauthorized entry or continued unauthorized pres-
                                                                                                    ence of aliens in the United States.
                                                                                                    Sec. 6. Federal Homeland Security Task Forces. (a) The Attorney General
                                                                                                    and the Secretary of Homeland Security shall take all appropriate action
                                                                                                    to jointly establish Homeland Security Task Forces (HSTFs) in all States
                                                                                                    nationwide.
                                                                                                       (b) The composition of each HSTF shall be subject to the direction of
                                                                                                    the Attorney General and the Secretary of Homeland Security, but shall
                                                                                                    include representation from any other Federal agencies with law enforcement
                                                                                                    officers, or agencies with the ability to provide logistics, intelligence, and
                                                                                                    operational support to the HSTFs, and shall also include representation
                                                                                                    from relevant State and local law enforcement agencies. The heads of all
                                                                                                    Federal agencies shall take all appropriate action to provide support to
                                                                                                    the Attorney General and the Secretary of Homeland Security to ensure
                                                                                                    that the HSTFs fulfill the objectives in subsection (c) of this section, and
                                                                                                    any other lawful purpose that fulfills the policy objectives of this order.
                                                                                                      (c) The objective of each HSTF is to end the presence of criminal cartels,
                                                                                                    foreign gangs, and transnational criminal organizations throughout the United
                                                                                                    States, dismantle cross-border human smuggling and trafficking networks,
                                                                                                    end the scourge of human smuggling and trafficking, with a particular focus
                                                                                                    on such offenses involving children, and ensure the use of all available
                                                                                                    law enforcement tools to faithfully execute the immigration laws of the
                                                                                                    United States.
                                                                                                       (d) The Attorney General and the Secretary of Homeland Security shall
                                                                                                    take all appropriate action to provide an operational command center to
                                                                                                    coordinate the activities of the HSTFs and provide such support as they
                                                                                                    may require, and shall also take all appropriate action to provide supervisory
                                                                                                    direction to their activities as may be required.
                                                                                                    Sec. 7. Identification of Unregistered Illegal Aliens. The Secretary of Home-
                                                                                                    land Security, in coordination with the Secretary of State and the Attorney
                                                                                                    General, shall take all appropriate action to:
                                                                                                       (a) Immediately announce and publicize information about the legal obliga-
                                                                                                    tion of all previously unregistered aliens in the United States to comply
                                                                                                    with the requirements of part VII of subchapter II of chapter 12 of title
                                                                                                    8, United States Code;
                                                                                                      (b) Ensure that all previously unregistered aliens in the United States
                                                                                                    comply with the requirements of part VII of subchapter II of chapter 12
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                                                                                                    of title 8, United States Code; and
                                                                                                      (c) Ensure that failure to comply with the legal obligations of part VII
                                                                                                    of subchapter II of chapter 12 of title 8, United States Code, is treated
                                                                                                    as a civil and criminal enforcement priority.
                                                                                                    Sec. 8. Civil Fines and Penalties. (a) The Secretary of Homeland Security,
                                                                                                    in coordination with the Secretary of Treasury, shall take all appropriate
                                                                                                    action to ensure the assessment and collection of all fines and penalties


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                                                                                                    that the Secretary of Homeland Security is authorized by law to assess
                                                                                                    and collect from aliens unlawfully present in the United States, including
                                                                                                    aliens who unlawfully entered or unlawfully attempted to enter the United
                                                                                                    States, and from those who facilitate such aliens’ presence in the United
                                                                                                    States.
                                                                                                       (b) Within 90 days of the date of this order, the Secretary of the Treasury
                                                                                                    and the Secretary of Homeland Security shall submit a report to the President
                                                                                                    regarding their progress implementing the requirements of this section and
                                                                                                    recommending any additional actions that may need to be taken to achieve
                                                                                                    its objectives.
                                                                                                    Sec. 9. Efficient Removals of Recent Entrants and Other Aliens. The Secretary
                                                                                                    of Homeland Security shall take all appropriate action, pursuant to section
                                                                                                    235(b)(1)(A)(iii)(I) of the INA (8 U.S.C. 1225(b)(1)(A)(iii)(I)), to apply, in
                                                                                                    her sole and unreviewable discretion, the provisions of section 235(b)(1)(A)(i)
                                                                                                    and (ii) of the INA to the aliens designated under section 235(b)(1)(A)(iii)(II).
                                                                                                    Further, the Secretary of Homeland Security shall promptly take appropriate
                                                                                                    action to use all other provisions of the immigration laws or any other
                                                                                                    Federal law, including, but not limited to sections 238 and 240(d) of the
                                                                                                    INA (8 U.S.C. 1228 and 1229a(d)), to ensure the efficient and expedited
                                                                                                    removal of aliens from the United States.
                                                                                                    Sec. 10. Detention Facilities. The Secretary of Homeland Security shall
                                                                                                    promptly take all appropriate action and allocate all legally available re-
                                                                                                    sources or establish contracts to construct, operate, control, or use facilities
                                                                                                    to detain removable aliens. The Secretary of Homeland Security, further,
                                                                                                    shall take all appropriate actions to ensure the detention of aliens appre-
                                                                                                    hended for violations of immigration law pending the outcome of their
                                                                                                    removal proceedings or their removal from the country, to the extent per-
                                                                                                    mitted by law.
                                                                                                    Sec. 11. Federal-State Agreements. To ensure State and local law enforcement
                                                                                                    agencies across the United States can assist with the protection of the
                                                                                                    American people, the Secretary of Homeland Security shall, to the maximum
                                                                                                    extent permitted by law, and with the consent of State or local officials
                                                                                                    as appropriate, take appropriate action, through agreements under section
                                                                                                    287(g) of the INA (8 U.S.C. 1357(g)) or otherwise, to authorize State and
                                                                                                    local law enforcement officials, as the Secretary of Homeland Security deter-
                                                                                                    mines are qualified and appropriate, to perform the functions of immigration
                                                                                                    officers in relation to the investigation, apprehension, or detention of aliens
                                                                                                    in the United States under the direction and the supervision of the Secretary
                                                                                                    of Homeland Security. Such authorization shall be in addition to, rather
                                                                                                    than in place of, Federal performance of these duties. To the extent permitted
                                                                                                    by law, the Secretary of Homeland Security may structure each agreement
                                                                                                    under section 287(g) of the INA (8 U.S.C. 1357(g)) in the manner that
                                                                                                    provides the most effective model for enforcing Federal immigration laws
                                                                                                    in that jurisdiction.
                                                                                                    Sec. 12. Encouraging Voluntary Compliance with the Law. The Secretary
                                                                                                    of Homeland Security shall take all appropriate action, in coordination with
                                                                                                    the Secretary of State and the Attorney General, and subject to adequate
                                                                                                    safeguards, assurances, bonds, and any other lawful measure, to adopt poli-
                                                                                                    cies and procedures to encourage aliens unlawfully in the United States
                                                                                                    to voluntarily depart as soon as possible, including through enhanced usage
                                                                                                    of the provisions of section 240B of the INA (8 U.S.C. 1229c), international
                                                                                                    agreements or assistance, or any other measures that encourage aliens unlaw-
                                                                                                    fully in the United States to depart as promptly as possible, including
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                                                                                                    through removals of aliens as provided by section 250 of the INA (8 U.S.C.
                                                                                                    1260).
                                                                                                    Sec. 13. Recalcitrant Countries. The Secretary of State and the Secretary
                                                                                                    of Homeland Security shall take all appropriate action to:
                                                                                                      (a) Cooperate and effectively implement, as appropriate, the sanctions
                                                                                                    provided by section 243(d) of the INA (8 U.S.C. 1253(d)), with the Secretary
                                                                                                    of State, to the maximum extent permitted by law, ensuring that diplomatic


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                                                                                                    efforts and negotiations with foreign states include the foreign states’ accept-
                                                                                                    ance of their nationals who are subject to removal from the United States;
                                                                                                    and
                                                                                                       (b) Eliminate all documentary barriers, dilatory tactics, or other restrictions
                                                                                                    that prevent the prompt repatriation of aliens to any foreign state. Any
                                                                                                    failure or delay by a foreign state to verify the identity of a national of
                                                                                                    that state shall be considered in carrying out subsection (a) this section,
                                                                                                    and shall also be considered regarding the issuance of any other sanctions
                                                                                                    that may be available to the United States.
                                                                                                    Sec. 14. Visa Bonds. The Secretary of Treasury shall take all appropriate
                                                                                                    action, in coordination with the Secretary of State and the Secretary of
                                                                                                    Homeland Security, to establish a system to facilitate the administration
                                                                                                    of all bonds that the Secretary of State or the Secretary of Homeland Security
                                                                                                    may lawfully require to administer the provisions of the INA.
                                                                                                    Sec. 15. Reestablishment of the VOICE Office and Addressing Victims of
                                                                                                    Crimes Committed by Removable Aliens. The Secretary of Homeland Security
                                                                                                    shall direct the Director of U.S. Immigration and Customs Enforcement (ICE)
                                                                                                    to take all appropriate and lawful action to reestablish within ICE an office
                                                                                                    to provide proactive, timely, adequate, and professional services to victims
                                                                                                    of crimes committed by removable aliens, and those victims’ family members.
                                                                                                    The Attorney General shall also ensure that the provisions of 18 U.S.C.
                                                                                                    3771 are followed in all Federal prosecutions involving crimes committed
                                                                                                    by removable aliens.
                                                                                                    Sec. 16. Addressing Actions by the Previous Administration. The Secretary
                                                                                                    of State, the Attorney General, and the Secretary of Homeland Security
                                                                                                    shall promptly take all appropriate action, consistent with law, to rescind
                                                                                                    the policy decisions of the previous administration that led to the increased
                                                                                                    or continued presence of illegal aliens in the United States, and align any
                                                                                                    and all departmental activities with the policies set out by this order and
                                                                                                    the immigration laws. Such action should include, but is not limited to:
                                                                                                      (a) ensuring that the parole authority under section 212(d)(5) of the INA
                                                                                                    (8 U.S.C. 1182(d)(5)) is exercised on only a case-by-case basis in accordance
                                                                                                    with the plain language of the statute, and in all circumstances only when
                                                                                                    an individual alien demonstrates urgent humanitarian reasons or a significant
                                                                                                    public benefit derived from their particular continued presence in the United
                                                                                                    States arising from such parole;
                                                                                                      (b) ensuring that designations of Temporary Protected Status are consistent
                                                                                                    with the provisions of section 244 of the INA (8 U.S.C. 1254a), and that
                                                                                                    such designations are appropriately limited in scope and made for only
                                                                                                    so long as may be necessary to fulfill the textual requirements of that
                                                                                                    statute; and
                                                                                                       (c) ensuring that employment authorization is provided in a manner con-
                                                                                                    sistent with section 274A of the INA (8 U.S.C. 1324a), and that employment
                                                                                                    authorization is not provided to any unauthorized alien in the United States.
                                                                                                    Sec. 17. Sanctuary Jurisdictions. The Attorney General and the Secretary
                                                                                                    of Homeland Security shall, to the maximum extent possible under law,
                                                                                                    evaluate and undertake any lawful actions to ensure that so-called ‘‘sanc-
                                                                                                    tuary’’ jurisdictions, which seek to interfere with the lawful exercise of
                                                                                                    Federal law enforcement operations, do not receive access to Federal funds.
                                                                                                    Further, the Attorney General and the Secretary of Homeland Security shall
                                                                                                    evaluate and undertake any other lawful actions, criminal or civil, that
                                                                                                    they deem warranted based on any such jurisdiction’s practices that interfere
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                                                                                                    with the enforcement of Federal law.
                                                                                                    Sec. 18. Information Sharing. (a) The Secretary of Homeland Security shall
                                                                                                    promptly issue guidance to ensure maximum compliance by Department
                                                                                                    of Homeland Security personnel with the provisions of 8 U.S.C. 1373 and
                                                                                                    8 U.S.C. 1644 and ensure that State and local governments are provided
                                                                                                    with the information necessary to fulfill law enforcement, citizenship, or
                                                                                                    immigration status verification requirements authorized by law; and


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                                                                                                       (b) The Attorney General, the Secretary of Health and Human Services,
                                                                                                    and the Secretary of Homeland Security shall take all appropriate action
                                                                                                    to stop the trafficking and smuggling of alien children into the United
                                                                                                    States, including through the sharing of any information necessary to assist
                                                                                                    in the achievement of that objective.
                                                                                                    Sec. 19. Funding Review. The Attorney General and the Secretary of Home-
                                                                                                    land Security shall:
                                                                                                       (a) Immediately review and, if appropriate, audit all contracts, grants,
                                                                                                    or other agreements providing Federal funding to non-governmental organiza-
                                                                                                    tions supporting or providing services, either directly or indirectly, to remov-
                                                                                                    able or illegal aliens, to ensure that such agreements conform to applicable
                                                                                                    law and are free of waste, fraud, and abuse, and that they do not promote
                                                                                                    or facilitate violations of our immigration laws;
                                                                                                      (b) Pause distribution of all further funds pursuant to such agreements
                                                                                                    pending the results of the review in subsection (a) of this section;
                                                                                                      (c) Terminate all such agreements determined to be in violation of law
                                                                                                    or to be sources of waste, fraud, or abuse and prohibit any such future
                                                                                                    agreements;
                                                                                                      (d) Coordinate with the Director of the Office of Management and Budget
                                                                                                    to ensure that no funding for agreements described in subsection (c) of
                                                                                                    this section is included in any appropriations request for the Department
                                                                                                    of Justice or the Department of Homeland Security; and
                                                                                                      (e) Initiate clawback or recoupment procedures, if appropriate, for any
                                                                                                    agreements described in subsection (c) of this section.
                                                                                                    Sec. 20. Denial of Public Benefits to Illegal Aliens. The Director of the
                                                                                                    Office of Management and Budget shall take all appropriate action to ensure
                                                                                                    that all agencies identify and stop the provision of any public benefits
                                                                                                    to any illegal alien not authorized to receive them under the provisions
                                                                                                    of the INA or other relevant statutory provisions.
                                                                                                    Sec. 21. Hiring More Agents and Officers. Subject to available appropriations,
                                                                                                    the Secretary of Homeland Security, through the Commissioner of U.S. Cus-
                                                                                                    toms and Border Protection and the Director of U.S. Immigration and Customs
                                                                                                    Enforcement, shall take all appropriate action to significantly increase the
                                                                                                    number of agents and officers available to perform the duties of immigration
                                                                                                    officers.
                                                                                                    Sec. 22. Severability. It is the policy of the United States to enforce this
                                                                                                    order to the maximum extent possible to advance the interests of the United
                                                                                                    States. Accordingly:
                                                                                                      (a) If any provision of this order, or the application of any provision
                                                                                                    to any person or circumstance, is held to be invalid, the remainder of
                                                                                                    this order and the application of its other provisions to any other persons
                                                                                                    or circumstances shall not be affected thereby; and
                                                                                                      (b) If any provision of this order, or the application of any provision
                                                                                                    to any person or circumstance, is held to be invalid because of the failure
                                                                                                    to follow certain procedures, the relevant executive branch officials shall
                                                                                                    implement those procedural requirements to conform with existing law and
                                                                                                    with any applicable court orders.
                                                                                                    Sec. 23. General Provisions. (a) Nothing in this order shall be construed
                                                                                                    to impair or otherwise affect:
                                                                                                      (i) the authority granted by law to an executive department or agency,
                                                                                                      or the head thereof; or
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                                                                                                      (ii) the functions of the Director of the Office of Management and Budget
                                                                                                      relating to budgetary, administrative, or legislative proposals.
                                                                                                      (b) This order shall be implemented consistent with applicable law and
                                                                                                    subject to the availability of appropriations.
                                                                                                      (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                    substantive or procedural, enforceable at law or in equity by any party


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                                                                                                    against the United States, its departments, agencies, or entities, its officers,
                                                                                                    employees, or agents, or any other person.




                                                                                                    THE WHITE HOUSE,
                                                                                                    January 20, 2025.


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